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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MOHAMMAD SUNAULLAH, ALI MIR                      §
BASIT, AND KAUSER TASNEEM                        §
                                                 §    CIVIL ACTION NO. 4:19-CV-01136
V.                                               §           JURY DEMANDED
                                                 §
CERTAIN UNDERWRITERS AT                          §
LLOYD’S, LONDON SUBSCRIBING TO                   §
POLICY NO. V581909                               §



                         INDEX OF STATE COURT DOCUMENTS



       Pursuant to 28 U.S.C. §1446(a) and Rule 81.1 of the Local Rules for the United States

District Court for the Southern District of Texas, the following index of State Court documents is

filed with Defendants’ notice of removal:

       1.   Plaintiff’s Original Petition;
       2.   Citation and Service of Process;
       3.   Defendants’ Original Answer; and
       4.   Docket sheet
       5.   Civil Cover Sheet




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                                            Exhibit "A"
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                                                                     Beverley McGrew Walker
                                                                                 District Clerk
                                                                     Fort Bend County, Texas
                                                                        Ashley Alaniz
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                                                                                                Beverley McGrew Walker
                                                                                                            District Clerk
                                                                                                Fort Bend County, Texas
                                                                                                   Ashley Alaniz

                                  CAUSE NO. 19-DCV-259668

MOHAMMAD SUNAULLAH, ALI MIR                                §        IN THE DISTRICT COURT OF
BASIT, AND KAUSER TASNEEM                                  §
                                                           §
v.                                                         §
                                                           §        FORT BEND COUNTY, TEXAS
CERTAIN UNDERWRITERS AT LLOYD’S,                           §
LONDON SUBSCRIBING TO POLICY NO.                           §
V581909                                                    §            458TH JUDICIAL DISTRICT

     DEFENDANTS’ ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL PETITION,
            AFFIRMATIVE DEFENSES, AND SPECIAL EXCEPTIONS

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendants CERTAIN UNDERWRITERS AT LLOYD’S LONDON, more properly know

as CERTAIN UNDERWRITERS AT LLOYD’S, LONDON SUBSCRIBING TO POLICY NO.

V581909, each for themselves alone and no other, severally not jointly, based on their own

respective percentage of interest (“Underwriters” or “Defendants”) file this Original Answer to

Plaintiffs’ Original Petition, and would respectfully show the Court as follows:

                                               I.
                                         GENERAL DENIAL

        1.     Defendants generally deny the allegations in Plaintiffs’ Original Petition, and

request that Plaintiffs be required to prove them by a preponderance of the evidence in accordance

with the laws of the State of Texas.

                            II. FIRST AFFIRMATIVE DEFENSE
                          Failure to State a Claim Against Defendants

        2.     Plaintiffs’ causes of action are barred, either in whole or in part, because they failed

to state a claim upon which relief can be granted. Specifically, Plaintiffs failed to describe how an

insurer’s alleged breach of contract converts Plaintiffs’ contractual claim into a cause of action

against Defendants for alleged violations of the Insurance Code or DTPA, or constitutes a breach



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of the duty of good faith and fair dealing. Plaintiffs’ petition instead merely alleges that Plaintiffs

are owed extra-contractual damages because Underwriters allegedly failed to pay a disputed claim.

Absent any specific factual allegations of Insurance Code violations in Plaintiff’s Petition which

caused damage to Plaintiff independent of the alleged contract damages sought in this lawsuit, the

petition does not support a claim upon which relief can be granted.

                           III. SECOND AFFIRMATIVE DEFENSE
                                     Damage Limitation

        3.     Plaintiffs’ damages, if any, are limited by the amount set forth in the Policy limitations

provisions of the applicable Policy.

                            IV. THIRD AFFIRMATIVE DEFENSE
                   Liability Not “Reasonably Clear”/Bona Fide Controversy

        4.     Defendants will show that a bona fide dispute exists as to the date of Plaintiffs’

reported loss as well as the cause of Plaintiffs’ asserted damages. As to Plaintiffs’ claims alleging

common law and statutory bad faith claims against Defendants, a bona fide controversy existed

and continues to exist concerning the scope and amount of the allegedly covered loss and

Plaintiffs’ entitlement to insurance benefits under the Policy. Defendants possesses the right to

investigate questionable claims without facing bad faith liability.

                            V. FOURTH AFFIRMATIVE DEFENSE
                                 Punitive Damage Limitation

        5.     With respect to Plaintiffs’ claim for damages, any award of punitive damages must be

limited to the greater of: (1) two times the amount of economic damages plus an amount equal to any

non-economic damages found by the jury, not to exceed $750,000; or (2) two times the amount of

economic damages plus $200,000, pursuant to the statutory mandates of Texas Civil Practices &

Remedies Code §41.002-41.009.



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                             VI. FIFTH AFFIRMATIVE DEFENSE
                                        Policy Terms

        6.      Defendants assert that Plaintiffs’ claims are barred in whole or in part by the

warranties, terms, definitions, provisions, conditions, exclusions and limitations of the Policy.

Defendants incorporate the Policy fully herein as if such were fully set forth herein, in extenso. Under

Texas law an insured has a duty to read an insurance policy and is charged with knowledge of its

contents. Defendants assert that any claim which is based upon a representation, inducement, or

reliance on a representation fails as a matter of law, since Plaintiff is charged with knowledge of the

contents of the insurance policy at issue.

                             VII. SIXTH AFFIRMATIVE DEFENSE
                                       Fortuity Doctrine

        7.      To the extent that Plaintiffs seeks compensation for property damages that pre-existed

the inception of the Policy at issue in this lawsuit, Defendants plead that such damages are barred by

the fortuity doctrine which bars known losses or losses in progress. Under the fortuity doctrine,

coverage is precluded where the plaintiff is, or should be, aware of an ongoing progressive loss or

known loss at the time the policy is purchased. To the extent that Plaintiffs’ damages, if any, were

caused by covered and non-covered perils such as wear, tear and deterioration and pre-existing

damages, Plaintiffs’ claims are barred.

             VIII. SEVENTH, EIGHTH, AND NINTH AFFIRMATIVE DEFENSES
                      Unclean Hands, Unjust Enrichment, and Estoppel

        8.      Plaintiffs fraudulently omitted prior losses and/or claims for damages to the subject

property when applying for the policy issued by Underwriters and when making the claim at issue.

Plaintiffs failed to disclose to Underwriters that their prior policy was non-renewed for damages




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to the property or that the damages reported to Underwriters existed well before the inception of

the Policy or the date of loss as claimed to Underwriters.

        9.     To the extent that Plaintiffs seek compensation for property damages that pre-

existed the date of loss at issue in this lawsuit, or for damages that Plaintiffs knows or should have

known to be caused by a non-covered or excluded peril, Defendants plead that such damages are

barred by the doctrine of unclean hands. The doctrine is applied where a plaintiff's conduct “has

been unconscientious, unjust, marked by a want of good faith or violates the principles of equity

and righteous dealing.” Bank of Saipan v. CNG Fin. Corp., 380 F.3d 836, 840 (5th Cir. 2004).

        10.    Further, Plaintiffs are not entitled to relief because Plaintiffs’ conduct, committed

directly or through its agents and or counsel “has been unconscientious, unjust, marked by a want

of good faith or violates the principles of equity and righteous dealing.” City of Fredericksburg v.

Bopp, 126 S.W.3d 218, 221 (Tex.App.—San Antonio 2003) (citations omitted). One who seeks

equity must do equity and must come to court with clean hands. Underwriters will show that they

were seriously harmed and the wrong complained of cannot be corrected without the application

of the doctrine.

                          IX.    EIGHTH AFFIRMATIVE DEFENSE
                                     Excessive Demand

        11.    Plaintiffs made an excessive demand, the day they filed this lawsuit, and will not

take a lesser amount. As a result of Plaintiffs’ excessive demand, Plaintiffs are not entitled to

attorneys’ fees expended in litigation thereafter. McMillin v. State Farm Lloyds, 180 S.W.3d 183,

209 (Tex. App.-Austin, 2005). Plaintiffs filed this lawsuit seeking alleged actual damages plus

attorneys’ fees and extra-contractual damages for claim damages to which Plaintiffs knew they

were not entitled. Plaintiffs’ demand is excessive and bars a claim for attorneys’ fees.




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                          X.      NINTH AFFIRMATIVE DEFENSE
                                  Fraud and Misrepresentation

        12.    Defendants further plead that Plaintiffs’ claims are barred by Plaintiffs’ fraud and

misrepresentation. Plaintiff signed an application for the insurance policy at issue in which

Plaintiff stated it had no prior claims or losses when its prior carrier canceled its policy or non-

renewed its policy due to the existing damages to and condition of the property. Plaintiff also

presented claims to Underwriters for alleged property damages which were in existence for years

before the alleged loss date and known to Plaintiffs to not be attributable to the claimed loss.

Plaintiff cannot recover for a loss unless prior damages were repaired prior to the alleged

subsequent loss(es) at issue in this lawsuit.

                               XI. DEMAND FOR JURY TRIAL

        13.    Defendants demand a jury trial in this case.

                                 XII. SPECIAL EXCEPTIONS

        14.    Defendants specially excepts to Plaintiffs’ Original Petition because it fails to

identify facts which support Plaintiffs’ common law bad faith, fraud, estoppel, DTPA, or Insurance

Code claims against Defendants. Plaintiffs have not identified any facts regarding any breach of

the duty of good faith and fair dealing by Defendants or any damages caused by such breach which

are separate and apart from the damages Plaintiffs claim pursuant to the alleged contractual breach

claim against Underwriters. Plaintiffs have failed to allege any conduct by Underwriters which

would constitute extreme conduct causing injury independent of Plaintiff’s contractual breach

claim against Underwriters.

        15.    Further, Plaintiffs’ Original Petition fails to identify or provide adequate facts or

explanation of the conduct which support Plaintiffs’ Insurance Code claims against Defendants.

Specifically, Plaintiff’s Original Petition fails to identify any misrepresentation or false statements


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made by Defendants which support Plaintiffs’ claims for alleged knowing misconduct or

misrepresentations. Plaintiffs’ Petition fails to identify any factual assertions as to how Plaintiff

relied on any such misrepresentations and how such misrepresentations were the producing cause

of any damages to Plaintiffs.

        16.    Further, Plaintiffs’ Petition does not contain any factual statements supporting the

allegations of fraud against Underwriters.

        17.    Accordingly, Plaintiffs should be required to file an amended pleading which sets

forth facts and evidence in support of Plaintiffs’ claims for alleged breach of contract, bad faith,

and alleged violations of the Insurance Code and DTPA, and fraud, as well as the maximum alleged

damages related thereto.

                                         XIII. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendants respectfully pray that Plaintiffs

be ordered to file an amended pleading which sets forth facts and evidence in support of Plaintiffs’

claims for alleged breach of contract, bad faith, fraud, and alleged violations of the Insurance Code

and DTPA by Defendants, as well as the maximum alleged damages related thereto, that Plaintiffs

take nothing on their claims against Defendants, that Defendants recover their costs herein, and

that Defendants receive such other and further relief, general or special, at law or in equity, to

which they may be justly entitled.

                                              Respectfully submitted,

                                              SHEEHY WARE & PAPPAS, P.C.


                                              By: /s/ D. Christene Wood
                                                      D. Christene Wood
                                                      State Bar No. 24042188
                                                      Email: cwood@sheehyware.com



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                                              2500 Two Houston Center
                                              909 Fannin
                                              Houston, Texas 77010-1008
                                              Telephone: 713-951-1089
                                              Facsimile: 713-951-1199

                                              ATTORNEY FOR DEFENDANTS



                                CERTIFICATE OF SERVICE

       This is to certify that on March 27, 2019, a true and correct copy of the foregoing document
was delivered to all counsel of record, via the court’s ECF notification/filing system in accordance
with the Texas Rules of Civil Procedure as follows:

        Clint Brasher
        Nishi Kothari
        Joe Muckleroy
        Brasher Law Firm, PLLC
        6430 Wellington Place
        Beaumont, Texas 77706



                                                      /s/ D. Christene Wood
                                                      D. Christene Wood




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 Skip to Main Content Logout My Account Search Menu New Civil Search Back                                  Location : Fort Bend Help
                                                                                                     Questions and Answers on Images
CASE NO. 19-DCV-259668
MOHAMMAD SUNAULLAH, ALI MIR BASIT AND KAUSER TASNEEM VS. CERTAIN
UNDERWRITERS AT LLOYD'S LONDON SUBSCRIBING, TO POLICY NUMBER V581909

Other Events on This Case                                      Image                                                      Page Count
02/13/2019 Docket Sheet                                        Docket Sheet                                               2
02/13/2019 Petition                                            Plaintiffs' Original Petition and Request for Disclosure   17
02/13/2019 Request                                             Request for Process                                        2
02/18/2019 Issuance                                            Citation -Certain Underwriters at Lloyd's London           4
                                                               Citation Issued to Certain Underwriters at Lloyds on
02/25/2019 Officers Return                                                                                                3
                                                               02-18-19



Other Images on This Case                                      Image                                                      Page Count




http://tylerpaw.co.fort-bend.tx.us/PublicAccess/CaseDocuments.aspx                                                            3/27/2019
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JS 44 (Rev. 02/19)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
MOHAMMAD SUNAULLAH, ALI MIR BASIT, AND KAUSER TASNEEM                                                       CERTAIN UNDERWRITERS AT LLOYD’S, LONDON SUBSCRIBING
                                                                                                            TO POLICY NO. V581909
    (b) County of Residence of First Listed Plaintiff             fort bend                                  County of Residence of First Listed Defendant United Kingdom entity
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Clint Brasher, Brasher Law Firm, PLLC, 6530 Wellington Place,                                               D. Christene Wood, Sheehy Ware & Pappas, P.C., 909 Fannin Street,
Beaumont, Texas 77706, 409-832-3737                                                                         Suite 2500, Houston, Texas 77002, 713-951-1089


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 485 Telephone Consumer
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)                 Protection Act
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))         ’ 490 Cable/Sat TV
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 850 Securities/Commodities/
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))                     Exchange
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     ’ 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 893 Environmental Matters
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 895 Freedom of Information
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party            ’ 896 Arbitration
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 899 Administrative Procedure
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                             Act/Review or Appeal of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       ’ 462 Naturalization Application                                     ’ 950 Constitutionality of
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                                    State Statutes
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 usc 1441 & 1446
VI. CAUSE OF ACTION Brief description of cause:
                                           suit over claim proceeds under a property insurance policy
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                         200,000.00                               JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
03/27/2019
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
